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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MISSOURI

COURTROOM MINUTE SHEET

 

 

 

 

CIVIL PROCEEDINGS
Date // §// Judge 7@@/(5”/'~ Case No. q"//W/qz§`€£]'
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_Court R/eporter 5%¢\/ EWL Deputy Clerk /{- 5,0¢¢/\¢;¢_@4 @'L¢/-

 

 

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E| The Court orders that this proceeding is sealed and that any transcript prepared
from this proceeding be filed under seal.

lt is hereby ordered that

 

 

 

 

 

Pltf. Witness Deft. Witness
Pltf. Witness Deft. Witness
Pltf. Exhibits:
Pltf. Exhibits:

 

 

 

Deft. Exhibits:
Deft. Exhibits:
U Exhibits returned to and retained by counsel

 

 

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